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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    FRANCINE ZEPEDA, Bar #91175
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721
     Telephone (559) 487-5561
5
     Attorney for Defendant
6    RYAN NATHAN FRIEND
7
8                                      IN THE UNITED STATES DISTRICT COURT
9                                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                   )     Docket No. 1:07-cr-00101 AWI
                                                 )
12                            Plaintiff,         )     WAIVER OF DEFENDANT’S PERSONAL
                                                 )     PRESENCE (Fed. R. Crim. P. 43(b)(3) & (c)(2));
13           v.                                  )     ORDER
                                                 )
14   RYAN NATHAN FRIEND,                         )
                                                 )
15                            Defendant.         )
                                                 )
16                                               )
17
18                                                    WAIVER
19           I, Ryan Nathan Friend, having been advised of my right to be present at all stages of the
20   proceedings, do hereby waive my right to be present in person in open court in the above-entitled case for
21   all and every proceedings involving the determination of restitution pursuant to 18 U.S.C. §3664 (b)(5). I
22   request the Court allow my attorney to represent me in court and to proceed to hear the matters during any
23   of my absences which the court may permit pursuant to this waiver. I agree that my
24   ///
25   ///
26   ///
27   ///
28   ///


     W aiver of Personal Appearance
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1    interests will be deemed to be represented at all times by the presence of my attorney, the same as if I were
2    personally present.
3            This request is made pursuant to Fed.R.Crim.P. 43(b)(3)and (c)(2).
4            DATED:        2/3          , 2009
5
6                                                                  /s/ Ryan Friend
                                                                  RYAN NATHAN FRIEND
7                                                                 35904-086
                                                                  FCI Sheridan
8                                                                 P.O. Box 5000
                                                                  Sheridan, OR. 97378
9
10   APPROVED:
11
12   /s/ Francine Zepeda
     FRANCINE ZEPEDA
13   Assistant Federal Defender
     Attorney for Defendant
14
15
16
17                                                     ORDER
18           IT IS SO ORDERED. The defendant is excused from personally appearing at all hearings in this
19   matter relating to restitution.
20
21   IT IS SO ORDERED.
22   Dated:      February 11, 2009                     /s/ Anthony W. Ishii
     0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
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     W aiver of Personal Appearance                        2
